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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                               CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

                 Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

              Defendants.
  ____________________________________/

                   ORDER IN ANTICIPATION OF JUNE 2024 HEARINGS

         THIS CAUSE comes before the Court in anticipation of the hearings scheduled for June

  21 and 24–26, 2024 [ECF No. 530]. In light of the Special Counsel’s recently filed Motion for

  Modification of Conditions of Release [ECF No. 592], and to afford adequate time for party and

  amici argument on Defendant Trump’s Motion to Dismiss Indictment Based on the Unlawful

  Appointment and Funding of Special Counsel Jack Smith [ECF No. 326; see ECF No. 604], the

  Court hereby adjusts the Motions to be heard at the June session as follows:

         1. On June 21, 2024, as previously scheduled, the Court will hear argument starting at

             9:30 a.m. on the Appointments Clause challenge for the duration of the day. The Court

             anticipates starting with argument from counsel for the parties; proceeding to hear

             argument from amici and rebuttal from the parties as necessary; and then

             accommodating any presentation of evidence, if deemed necessary by the Court,
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           following review of the supplemental briefs on the need for further factual development

           [ECF No. 588].

        2. By appropriate Notice filed no later than June 10, 2024, Defendant Nauta shall clarify

           whether he adopts or joins in Defendant Trump’s Motion to Dismiss Indictment Based

           on the Unlawful Appointment and Funding of Special Counsel Jack Smith

           [ECF No. 326; see ECF No. 331 (Defendant De Oliveira Notice of Adoption)].

        3. On June 24, 2024, the Court will hear argument as follows:

               a. 10:00 a.m. – Appropriations Clause challenge as raised in Defendant Trump’s

                   Motion to Dismiss the Indictment Based on the Unlawful Appointment and

                   Funding of Special Counsel Jack Smith [ECF No. 326].

               b. 3:00 p.m. – Special Counsel’s Motion for Modification of Conditions of

                   Release [ECF No. 592].

        4. On June 25, 2024, the Court will hear argument on Defendant Trump’s Motion for

           Relief Related to Mar-A-Lago Raid and Unlawful Piercing of Attorney-Client Privilege

           [ECF No. 566]. Argument will focus primarily on the privilege / work product issues

           raised in the Motion, to be heard in sealed session for purposes of protecting potentially

           privileged information and grand jury material. At the conclusion of that session, the

           Court will hear argument in open court (with appropriate redactions) on Defendant

           Trump’s arguments with respect to (a) his entitlement to a Franks hearing; (b) the

           particularity of the warrant under the Fourth Amendment; and (c) the good-faith

           exception to the exclusionary rule. Should a need arise for an evidentiary hearing on

           any of the foregoing topics, the Court will schedule such a hearing in due course.




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        5. On or before June 10, 2024, the parties shall promptly confer and file a status report

           on what additional material, if any, from the crime-fraud proceeding in the U.S. District

           Court for the District of Columbia is pertinent to the Court’s studied resolution of the

           privilege and work-product issues raised in Defendant Trump’s Motion for Relief

           Related to Mar-A-Lago Raid and Unlawful Piercing of Attorney-Client Privilege

           [ECF No. 566]. See D.D.C. 22-gj-10. This status report may be filed under seal if

           necessary to protect potentially privileged and/or grand jury material, and it should

           clearly indicate the parties to that proceeding and the status of any pending transfer

           petitions in that proceeding.

        6. In light of the scheduling adjustments above, the Court hereby cancels the partial

           evidentiary, multi-day hearing on Defendants’ Motions to Compel [ECF No. 469]

           previously scheduled for June 24–26, 2024, to be reset by subsequent Order.

        7. Defendants are not required to appear at the June 2024 hearings.

        DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 5th day of June 2024.



                                                     _________________________________
                                                     AILEEN M. CANNON
                                                     UNITED STATES DISTRICT JUDGE


  cc:   counsel of record




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